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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION United States Courts
Southern District of Texas
In re: § FILED
§ .
HOUSTON REAL ESTATE 5 Case No. 22-32998 DEC 19 2024
PROPERTIES, LLC,
: Chapter 7 Nathan Ochsner, Clerk of Court
Debtor, §
JOHN QUINLAN, OMAR :
KHAWAJA, AND OSAMA §
ABDULLATIE, §
oo
Po,
| Plaintiffs : Adversary Case No. 23-03141
{
v. | s
| §
HOUSTON REAL ESTATE §
PROPERTIES, LLC, et al. :
| Defendants §
§

EXHIBIT LIST FOR DECEMBER 20, 2024 HEARING ON ALI
CHOUHDRI’S MOTION FOR DISQUALIFICATION/RECUSAL OF
JUDGE JEFFREY P. NORMAN

Ali Choudhri files this Witness and Exhibit List for the emergency hearing to be held
December 20, 2024 at 9:00 a.m. (prevailing Central Time) (the “Hearing”) on Ali Choudhri’s
Motion for Disqualifiction/Recusal of Judge Jeffrey P. Norman (ECF No. 245).

! WITNESS LIST

Ali Choudhri may call the following witnesses at the Hearing:

1. Omar Khawaja
2. Sajid Ali M.D.
3, Ying Zhao M.D.
4. Lori Hood

5, Osama Abdullatif
Case 23-03141 Document 409

30.

31.

George Lee
Harold Polk
Christopher Wyatt
Hira Azhar
Azeemeh Zaheer
Carl Cecere
Marcus Hill

Gray Burks

' Faisal Shah

Gregg Costa

Jeff Steidly

Lenard Parkins

Michael Ballases
Melissa Hayward

David Tang

Quanell X Farrakhan

Jerry Alexander

‘Michael Durrschmidt

‘Jim Wetwiska

Paul Kirkland
Mansour Chaudhary
‘Anwar Qadeer
Robert Norris

Scott Funk

Kell Mercer

Wayne Dolcefino

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Case 23-03141 Document 409

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34,
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36.
37.
38.

39.

John Quinlan
Joshua Sussberg
Mathew Cavenaugh
Dward Darjean

Ali Mokaram

Jeff Joyce

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Any witness called by any other party.

Any witness necessary to rebut the testimony of any witness designated by another

party.

Exhibit

Description

Offer

Object

Admit

Disposition

Case # /
ECF

Order Granting Motion for
nections Against Defendarit
Shahnaz Choudhri Nov 18, 2024

404-1

2.a

Houston Cardiology Return
to Work Letter for Ali

Choudhri Jun 7, 2024

404-2

2.b

Medical Business Affidavit
of Sajid Ali, MD

404-3

Transcript of Trial Monday, June
] 24 23-348]

404-4

1

Transcript of Trial, Wednesday,
June 19, 2024

404-5

Memorandum Opinion June 22,
2024

404-6

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Order Denying Motion to
Reconsider (ECF 740) September

24, 2024

404-7

.| Transcript of Oral Hearing August

2 2015-
Hira Azhar

8.a

404-8

Townsen Memorial Hospital
Radiology Report June 2, 2024

404-9

8:.b

Townsen Memorial Affidavit

404-10

~—*%a

Houston Methodist Discharge
Information June 3, 2024

(f04-11

9b

Houston Methodist Medical
record Affidavit June 3, 2024

~ 404-12

10.

‘Order on Motion for Entry of

rder Prohibiting Credit Bidding
by NBK

404-13

OL.

Amended Supplement to
Emergency Motion to Continue
Hearing on Confirmation of Plan

June 6, 2024 Physician’s note

404-14

“12.

Order Disallowing Proof of Claim
and Referral to US Attorney
September 9, 2024

13.

“404-15:

Remote Deposition of Omar
Khawaja September 11, 2024

404-16

14.

Adversary CoExhibit 13
2024.09.11 Khawaja.Omar Depo

24-10120.pdfmplaint
24-10120-smr Lee

15.

404-17

Emergency Deposition Dispute
23-03141-ADV October 3, 2024

404-18 |

16.

Declaration of Shahnaz Choudhri

November 8, 2024

~ 404-19 _

17.

| Order Denying Motion (ECF 294)

and Show Cause Order with

Prejudice on Shahnaz Choudhri
Deposition Oct 8 2024

18.

404-20

ideota’ Deposition of Omar

Khawaja Oct 4, 2024Cause No.

22-32998

404-21

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19. | Order Abating Ruling on NBK’s . . 404-22
(Renewed) Emergency Motion to .
Enforce Sale Order

December 5, 2024 23-34815
Galleria 2425 Owner, LLC.
Debtor

20. Transcript of Emergency Motions 404-23

21. Videotaped Deposition of Omar 404-24
Khawaja Vol. 1 October 3, 2024 .

22: | Bankruptcy Local Rules In the US ~ 04-25
Bankruptcy Court for the
Southern District of Texas

23. Order Transferring Case to 404-26
Southern District of Texas Case
No. 24-11544

24. | Order Annulling Automatic Stay - ~ 404-27
Dec 6, 2024

25. | Proof of Claim 24-10120 June 6 404-28
2024

26. | Letter to Dolcefino Consulting ~ 404-29

and Wayne Dolcefino Re: Cause
No. 2021-00192

- 27. | Emails between James Pope and -  . - 404-30

Michael Ballases Between August
18, 2024 and November 7, 2024

“28. | Agreed Final nt an ~ 04-31

Permanent Injunction QCWEN v
Wyatt Cause. No. 79190

29, Plaintiff ’s Request to Inspect 404-32
Original Documents Cause No.
201961734 (Dalio 1)

30. | Third Amended Petition for . 04-33
Divorce Cause No. 2015-36895 .
j

31. | Oral Deposition of George M. Lee 404-34

August 12, 2022
|

32. | Videotaped Deposition of Osama . . 404-35
Abdullatif Oct 4, 2024
|

33. | Remote Deposition of Osama 404-36
Abdullatif September 11, 2024

34. | Motion Hearing US Bankruptcy 404-37
Court for the Southern District of

Texas Houston Division, Case No.

21-60082-11 Grover Enterprises

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35,

Creditor’s Objection to Claim of

John Quinlan, Omar Khawaja, and
Osama Abdullatif (Claim No. 9-1)

36.

404-38 ©

Oral Deposition of Serena Yu July
14, 2022

404-39

37.

Letter Re: Waiver of Conflict

Letter by Hoover Slovacek

404-40

38.

Motion Hearing for Temporary
Injunction Cause No, 2019-61734
Grove v Dalio Iv Polk

39.

dt Marriage of Hira Azhar and
Jd Motomuns Ali Choudhri
| 40. Email from Charles Mansoor Re:

404-41

. | Findings and Conclusions
2015-36895 In the Matter of the

404-42

Notice of Abstract of Judgment
Mar 30, 2024

404-43

41,

of Abdullatif v Choudhri Jetall
42.

__|Companies

Order of Non-Suit with Prejudice
Cause No. 2011-25222 Expile and

04-44

Hearing January 2, 2024 Case No.
13-35654-H1 Khawaja Partners

and Jetall Companies Debtors:
Khawaja Partners v Jetall

404-45

“2B.

ce et. al. Nov 5, 2024
“| 44, |Em tion t

45.

Plaintiff’s First Amended Petition
Cause No. 2020-79998 Choudhri v

“1404-46

en ntin

Hearing on Objection to Claim of

INBK, US Bankruptcy Court
Southern District of Texas Case.

No. 23-34815

404-47

Emergency Motion to Continue
Hearing on Confirmation of Plan
Filed by the NBK and Joint Plan
Prop osed bY 2425 aS LLC and
ebtor Cause No. 23-34815 US

Bankruptcy Court Southern District

of Texas Houston Division June 4
12024

46.

Sale Agreement December 18
2012 between Ali Mokaram and

Osama Abdullatif

47.

404-49

Declaration of Quanell X
December 29, 2020

404-50

404-48

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48.

12023

Trial Transcript Cause No.

2023-43755 Naissance Galleria v
Azeemeh Zaheer September 6,

H04-51

49.

50.

_ (Cause No. 2018-2373Exhibit

er ing Secon ion
Continue (ECF 290) with prejudice

Case No. 23-03141 November 7

2024 (on Emergency Motion to

IReschedule Deposition

04-52

rder of Final a nt

49.pdf3 Khawaja Partners v Jetall

Companies

404-53

31.

52.

Contract and Agreement of
Employment between Hira Azhar

and Bobby Newman

04-54

Transcript of Veritex Community
Bank’s Emergency Motion to

Enforce Bankruptcy Court’s order
46 Jun 4, 2024

404-55

53.

Clerk’s Certificate of Deposit in

Lieu of Supersedeas Bond Cause
INo: 2013-41273 Abdullatif and

A bdullitif & Co v Choudhri and
IMREP: and Order Requirin
A dditional Cash Deposit

~ 04-56

~ 54,
55,

56.

57.a

Plaintiff’s Original Petition Cause

INo. 2011-25222 Ct: 269 Erpile and
Abdullatif v Choudhri et. al

04-57

Notice of Abstracts of Judgment

February 15, 2024 Cause No.
2012-27197-A

~K04-58

Order Transferring Venue Case
INo! 24-10120 In Re: Joshua Gates

(Debtor: Abdullatif and
Mokaram-Latif West Loop v Valle,

nd Choudhri Adv

404-59

Christo her Wyatt Been Verified
eport

_ 404-60

57.b

Christopher Wyatt Audio

_ 404-61

58.

Local Court Rules for the United

States Bankruptcy Court for the
Western District of Texas

59.

104-62

Transcript of hearing November
13, 2024 Cause No. 4:24-CV-3224

404-63

Southern Bankruptcy)

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- 60.

‘ (ORDER DENYING

DEFENDANTS’ MOTIONS TO
DISMISS signed December 5,

12024

04-64 ©

61.

ER DE
EMERGENCY MOTION TO
CONTINUE HEARING AND

signed on Oct 8, 2024

JORDER CANCELING HEARING

404-65

62.
| lsigned November 6, 2024

63.

64.

66.

ORDER DENYING MOTION
FOR WITHDRAWAL OF THE

IREFERENCE ( Jury trial)

404-66

SHAHNAZ CHOUDHRI’S
EMERGENCY MOTION TO

~~ 404-67 —

| [RESCHEDULE DEPOSITION
filed November 7, 2024 ECF 287
|" 64. [ORDER DENYING

EMERGENCY MOTION TO
IRESCHEDULE DEPOSITION

| _ [Signed November 7, 2024 ECF 288
| 65.

SHAHNAZ CHOUDHRI’S
EMERGENCY MOTION TO
RESCHEDULE DEPOSITION
filed November 7, 2024 ECF 290

— 04-68

404-69

Order Granting NBK’s Emergency
(Renewed) Motion to Enforce Sale

Order signed December 6, 2024
ECF 871

404-70

Memorandum Opinion signed
December 6, 2024 ECF 870

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- A04-71

68.

Case # 23-03141 Case No.
23-03141

_ {ECF Doc.1, ECF Doc.2,

ECF Doc.3, ECF Doc.4,
ECF Doc.5, ECF Doc.6,
ECF Doc.7, ECF Doc.22,

’ ECF Doc.22-1, ECF Doc.22-2,

ECF Doc.22-3, ECF Doc.25,
ECF Doc.26, ECF Doc.28,
ECF Doc.31, ECF Doc.32,

_ {ECF Doc.37, ECF Doc.38,

ECF. Doc.47, ECF Doc.48,
ECF Doc.49, ECF Doc.52,
ECF Doc.53, ECF Doc.55,

. [ECF Doc.56, ECF Doc.57,

ECF Doc.58, ECF Doc.59,
ECF Doc.62, ECF Doc.63,

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ECF Doc.64, ECF Doc.65,
IECF Doc.67, ECF Doc.68,
IECF Doc.78, ECF Doc.79,
IECF Doc.81, ECF Doc.82,
ECF Doc.83, ECF Doc.86,
IECF Doc.92, ECF Doc.94,
ECF Doc.95, ECF Doc.96,
ECF Doc.98, ECF Doc.99,
ECF Doc.101, ECF Doc.102,
ECF Doc. 108, ECF Doc.110,
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ECF Doc.241, ECF Doc.245,
ECF Doc.248, ECF Doc.250,
IRCF Doc.252, ECF Doc.264,
ECF Doc.265, ECF Doc.267,
ECF Doc.284, ECF Doc.285,
ECF Doc.287, ECF Doc.288,
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ECF Doc.297, ECF Doc.198,
ECF Doc.315, ECF Doc.316,
ECF Doc.317, ECF Doc.318,
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69.

Dec 9 Transcript page 34 lines
20-21

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70.

pes 2 transcript

404-74

71.

Dec 16 Transcript

A04-75

72.

June 7, 2011 Transcript

404-76

73.

June 9, 2011 Transcript

404-77

74.

June 13,2011 Transcript
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404-78

75.

June 15, 2011 Transcript

404-79

76.

June 16, 2011 Transcript

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404-80

77.

Case number 24-35761 Jetall
companies Chapter 11.

ECF Doc.1, ECF Doc.2

ECF Doc.3, ECF Doc.4

ECE D ECF Doc,12
Case No. 23-03141

404-81

78.

Co Star Write up

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404-82

79.

KRCL - Dolcefino Audio

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J ohn Quinlan 10/4 depo Case No.
23-03141
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81.

Disqualification of Jackson Walker| 404-85

82.

Co Star Write up

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83.

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84.

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John Quinlan 10/4 depo Case No.

404-88

85,

Order Remanding Adversary
proceeding dec. 2 2024

404-89

86.

Email between Jeff Joyce and
Scott funk

404-90

87.

2014-08-28 Bankruptcy Court
Transcript of Omar Khawaja

Testimony

404-91

88.

2016-01-13 Phase 1 Final
Judgment.pdf

404-92

89.

Wayne Dolcefino Jury Request

\

404-93

90.

Jetall Companies Background

404-94

91.

any other party.

Any exhibit identified or offered by

92.

Any exhibit necessary for
impeachment and/or rebuttal

urposes.

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RESERVATION OF RIGHTS

Jetall Companies, Inc. reserves the right to call or to introduce one or more, or none, of
the witnesses and exhibits listed above, and further reserve the right to supplement this Witness
and Exhibit List before the Hearing.

DATED: December 19, 2024
Respectfully Submitted,
By: /s/ Ali Choudhri
Ali Choudhri
2425 West Loop,
Suite 1100 77027
Phone: 281-630-6627
Email: ali @jetallcapital.com
Defendant, Pro se

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CERTIFICATE OF SERVICE

The undersigned certifies that on December 19, 2024, a true and -correct copy of the
‘foregoing was served via the Court’s CM/ECF system to all parties who are deemed to have
consented to ECF electronic service, and via thumbdrive to those listed below. .

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I

Thomas Michael Ballases
Hoover Slovacek LLP
5051 Westheimer
Ste 1200.
Houston, TX 77056
713-977-8686
Email: ballases @hooverslovacek.com
LEAD ATTORNEY

!

(s/f Ali Choudhri
Ali Choudhri

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UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF TEXAS

IN RE:

Houston Re cl

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